               IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                               3:05cr345-2


UNITED STATES OF AMERICA      )
                              )
                              )
vs.                           )                        ORDER
                              )
                              )
JASON MICHAEL DOLINAR(2)      )
______________________________)



     THIS MATTER is before the Court upon the Defendant’s motion for

reconsideration of this Court’s September 8, 2005 Detention Order.

(Doc. No. 30).

     The Defendant was detained by this Court on September 8, 2005,

after it determined probable cause existed that the defendant had

committed qualifying offenses (to wit, an offense for which the

maximum term of imprisonment is 10 years or more, and an offense

under    18 U.S.C. § 924(c)), and that the Defendant had not rebutted

the presumption of detention afforded in 18 U.S.C. § 3142(e)(2).

Additionally, this Court found by clear and convincing evidence that

there was a serious risk that the Defendant would endanger the

safety of an individual in the community. (Doc. No. 10)

     The Defendant subsequently was indicted on September 27, 2005,

on charges of conspiracy to manufacture and possess with the intent

to distribute methamphetamine; possession of Pseudoephedrine with

the intent to manufacture methamphetamine, and aiding and abetting;

possession of a firearm by a felon; and possession of a stolen



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firearm.   (Doc. No. 16).

     Upon review of the Defendant’s motion and the record,            even in

a light most favorable to the Defendant, the Court finds the

circumstances alleged by the Defendant in his motion do not meet the

requirements under 18 U.S.C. § 3142(f) for this Court to alter its

Order of Detention.



     IT IS, THEREFORE, ORDERED that the defendant’s appeal of the

detention order is DENIED.



     The Clerk is directed to certify copies of this order to the

defendant, counsel for the defendant, to the United States Attorney,

the United States Marshals service, and the U.S. Probation office.




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                     Signed: December 1, 2005




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